Case 1:14-ml-02570-RLY-TAB Document 19809 Filed 08/31/21 Page 1 of 2 PageID #:
                                 123176



                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
__________________________________________
IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                   MDL No. 2570
__________________________________________


This Document Relates to Plaintiff(s)

Charles V. Pollock 1:19-cv-03896-RLY-TAB



                                 SUGGESTION OF DEATH

       Pursuant to Rule 25(a)(1) of the Federal Rules of Civil Procedure, counsel for Plaintiff

 informs this Honorable Court and the Parties of the death of Plaintiff Charles V. Pollack, which

 occurred on March 28, 2020. Plaintiff’s claim is not extinguished by his death.


                                            Respectfully submitted,

                                            /s/John A. Dalimonte
                                            John A. Dalimonte
                                            (Admitted Pro Hac Vice, MA Bar No. 554554)
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                                            john@drlawllp.com

                                            Lead Counsel for Plaintiff Charles V. Pollack




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Case 1:14-ml-02570-RLY-TAB Document 19809 Filed 08/31/21 Page 2 of 2 PageID #:
                                 123177



                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 31, 2021 a copy of the foregoing was served electronically
and notice of the service of this document will be sent to all parties by operation of the Court’s
electronic filing system to CM/ECF participants registered to receive service in this matter. Parties
may access this filing through the Court’s system.

                                      /s/John A. Dalimonte
                                      John A. Dalimonte




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